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                                 UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF FLORIDA

                           Case No.: 21-cv-21940-BLOOM/Otazo-Reyes NEIMA

  BENAVIDES, as Personal
  Representative of the Estate of Naibel Benavides Leon,
  deceased,

          Plaintiff,

  v.

  TESLA, INC., a/k/a Tesla Florida, Inc., Defendant.
                                                /


   DILLON ANGULO,                                      Case 1:22-22607-KMM

          Plaintiff,

   v.

   TESLA, INC. a/k/a Tesla Florida, Inc.


              Defendant.

                                               /


 MOTION TO ENFORCE ORDER REGARDING PLAINTIFF’S DISCOVERY RESPONSES
                        AND FOR SANCTIONS

         Tesla, Inc. (“Tesla”), through its undersigned counsel, respectfully moves this Honorable Court

 to enforce its November 14, 2022 Order Compelling Plaintiff’s Responses to Tesla’s Discovery (Dkt.

 65), and requests that this Court enter an order: (1) compelling Plaintiff to amend her discovery

 responses to comply with the requirements within Fed. R. Civ. P. 34; (2) striking Plaintiff’s Responses

 to Tesla’s Request for Admission and deeming them as admitted; (3) compelling the production of

 Plaintiff’s settlement agreement with non-party George McGee; (4) compelling Plaintiff to amend her

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 responses to certain Requests for Production and produce responsive documents; (5) amending the

 scheduling order (Dkt. 10) in the manner described below; and (6) compelling Plaintiff to pay the costs

 associated with Tesla’s efforts to obtain the discovery compelled by the Court’s November 14 Order.

 In support of its motion, Tesla states the following:

                                                 BACKGROUND

     A. The Incident

        This automotive product liability case arises out of an incident that occurred on April 15, 2019

 (the “Subject Incident”). On that day, Decedent Naibel Benavides, a pedestrian, was struck and killed

 by a 2019 Tesla Model S (the “Subject Vehicle”), which was operated by George McGee. Decedent’s

 boyfriend – Plaintiff Dillon Angulo – also a pedestrian, was also struck and injured during the incident.

 On April 22, 2021, Neima Benavides – Representative of Decedent’s Estate (“Plaintiff”) – filed the

 instant action against Tesla, Inc. (“Tesla”). 1 Tesla denies all claims against it. Since filing this case

 in April of 2019, Plaintiff Neima Benavides has issued zero discovery requests and has taken zero

 depositions. In contrast, and in an effort to investigate the basis of Plaintiffs’ product liability and

 design defect claims, Tesla has served written discovery requests on Plaintiffs and it has conducted

 depositions of fact witnesses. As explained in more detail below, Plaintiff Benavides, through her

 Counsel has failed or refused to respond to Tesla’s discovery in good faith and instead has waged a

 campaign to ignore or dodge its discovery obligations.

     B. History of Discovery Issues

         The motion now before the Court arises out of a series of discovery abuses and false promises

 made by Plaintiff’s counsel to respond to four sets of discovery served by Tesla as early as July, 2021.

 In the interest of efficiency, Tesla attaches its “Memorandum Regarding Hearing on Tesla’ s Motion


 1
  On August 16, 2022, Dillon Angulo filed a separate lawsuit against Tesla, which was consolidated with the instant case
 on August 31, 2022. For the purposes of this motion, “Plaintiff” shall refer to Plaintiff Neima Benavides only.

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 to Compel,” (“Memorandum”) (Attached as Exhibit A) which explains the background of the dispute

 leading up to November 14, 2022. On November 14, in an attempt to resolve the issues described in

 that Memorandum, Plaintiff Neima Benavides and Tesla jointly submitted a stipulated Order

 compelling certain discovery from Plaintiff no later than December 5, 2022. The Court entered that

 stipulated Order on November 14, 2022 as Document 65 (Exhibit B – the “Order”).

         On December 5, Tesla’s Counsel contacted Plaintiff’s Counsel, to inquire whether Plaintiff

 would timely comply with the Order that required Plaintiff to “fully respond in substance and produce

 any documents responsive to …” Tesla’s discovery requests identified in the Order. Proving once

 again that Plaintiff or her Counsel had no intention of complying with the Order, Plaintiff’s Counsel’s

 response was – again and predictably – that she would need additional time. Tesla responded that –

 due to Plaintiff’s previous failures to comply with discovery deadlines and the futility of providing

 Plaintiff more time – that no extension would be given. Consequently, Plaintiff violated the Order by

 failing to make any response or production on December 5 as required by the Order.

     C. Plaintiff’s Late Discovery Responses and Production

         In the week following Plaintiff’s December 5 deadline imposed by the Order, Plaintiff served

 responses to Tesla’s First, Second, and Third Requests for Production, and First Requests for

 Admission. See Exhibits C1 and C-2. In addition to being served after the Court-imposed December

 5 deadline, the responses are largely nonresponsive to Tesla’s requests and not compliant with the

 Order

         On December 12 – a week after Plaintiff’s deadline under the Order – Plaintiff produced 1,750

 pages of news articles, social media posts, and lawsuit complaints mentioning Tesla – a vast majority

 of which do not even reference or relate to the Subject Tesla or the Subject Crash.2                     With limited


 2
   A review of the documents produced by Plaintiff indicates that Plaintiff simply produced any document she could get her
 hands on that mentioned “Tesla” and “Problem,” regardless of how attenuated the information contained within was to the
 issues in this case.
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 exceptions,3 a vast majority of Plaintiff’s discovery responses failed to provide any indication of which

 of the 1,750 documents were responsive to which request. This has forced Tesla to expend even more

 time sifting through Plaintiff’s document dump and leaving it to guess which documents were intended

 to be responsive to each Request. In sum, after evading her obligations under FRCP 26, 33, 34 and 36

 and the terms of the Order – the terms of which Plaintiff stipulated to in order to fix her earlier

 discovery noncompliance and failure to respond to four sets of discovery over the course of nearly two

 years -- Plaintiff dumped 1,750 pages of nonresponsive paper on Tesla .4

          As a result of Plaintiff’s discovery abuses, Tesla now requests that this Court enter an order:

 (1) striking Plaintiff’s untimely objections to Tesla’s discovery requests at issue in the Order and

 compelling Plaintiff to amend her discovery responses to label which documents (by Bates range) are

 responsive to each of Tesla’s Requests identified in the Order and to specifically and clearly state that

 Plaintiffs have no documents responsive to Tesla’s requests where that is case; (2) compelling the

 production of Plaintiff’s settlement agreement with non-party George McGee, which Plaintiff agreed

 to produce under the Parties’ Stipulated Order (Dkt. 65); (3) Compelling the production of documents

 responsive to Requests 36, 29, 31, and 33 of Tesla’s First Requests for Production and Request 2 of

 Tesla’s Second Requests for Production; (4) striking Plaintiff’s Responses to Tesla’s Request for

 Admission and deeming them as admitted due to Plaintiff’s failure to respond to those Requests in a

 timely way; (5) amending the scheduling order (Dkt. 10) in the manner described below to remedy the



 3
   Plaintiff’s December 12, 2022 responses to Requests 31 and 33 of Tesla’s First Requests for Production and responses to
 Requests 1, 2, and 6 of Tesla’s Second Requests for Production, she did identify specific documents to be produced. The
 remaining 12 amended responses generally amounted to the following statement:” Plaintiff will produce under separate
 cover materials responsive to the foregoing Request and agrees to supplement her response in a timely manner and pursuant
 to the rules and any orders of the court.” See, e.g. Plaintiff’s Amended Response to Request 24 of Tesla’s First Requests
 for Production. Given the sheer number of documents produced, it is unreasonable for Plaintiff to expect Tesla to guess
 which documents are responsive to which request.
 4
   Plaintiff’s Counsel also failed to produce a copy of Plaintiff’s settlement agreement with at-fault driver McGee, despite
 agreeing to be bound to an Order compelling her to do so. Instead, Plaintiff objected that such information was confidential,
 in what has become a pattern of duplicity.
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 delays caused by Plaintiff’s repeated discovery abuses; and (6) compelling Plaintiff to pay the costs

 associated with Tesla’s efforts to obtain the discovery compelled by the Court’s November 14 Order.

                        BRIEF IN SUPPORT AND RELIEF REQUESTED

         A. Request to Strike Untimely Objections and Compel Plaintiff to more Specifically
            Identify Responsive Documents.

     To comply with Federal Rule of Civil Procedure 34, a producing party must produce documents

 as they are kept in the usual course of business or must organize and label them to correspond to the

 categories in the request. Fed. R. Civ. P. 34(b)(2)(E); see also Ghost Controls, LLC v. Gate1Access

 LLC, No. 5:20-CV-288-RBD-PRL, 2021 WL 4033280, at *2 (M.D. Fla. Sept. 3, 2021) (“to comply

 with [Fed. R. Civ. P. 34], a party must rationally organize its productions, so that the requesting party

 may readily identify documents … that are responsive to the production requests”); see also Mizner

 Grand Condominium Ass’n, Inc. v. Travelers Property Cas. Co. of America, 270 F.R.D. 698, 700 (S.D.

 Fla. 2010) (The requirements of Rule 34 are intended to prevent parties from hiding a needle in a

 haystack by mingling responsive documents with large numbers of nonresponsive documents) (internal

 quotations omitted).

     As an initial matter, Plaintiff’s untimely response to the Requests in the Order are filled with

 boilerplate and untimely objections that should be stricken by this Court. A failure to timely respond

 or object to discovery is a waiver of the later asserted objections. See, Landfall 2, Inc. v. Datascore-

 AI, LLC, Case No. 22-cv-80801, 2022 WL 17815491 at *2 (S.D. Fla. Dec. 15, 2022) (Plaintiff’s

 objections to discovery deemed waived for failing to timely respond to discovery deadline established

 by court order).

     In addition to being late, Plaintiff’s production is clearly an abuse of FRCP 34, and has made

 Tesla’s task of reviewing the documents for relevant information unduly burdensome. A review of the

 documents indicate that they were pulled from internet search engine results – in other words, they

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 were not produced as they were kept in the ordinary course of business. Additionally Plaintiff

 produced roughly 1,750 pages with little to no identification of which documents were responsive to

 which of Tesla’s Requests.

     For example, Request 27 of Tesla’s First Request for Production, one of the Requests specifically

 identified in the Order, obligates Plaintiff to produce documents supporting Plaintiff’s allegation that

 the Subject Tesla contained a design defect. See Exhibit C-1- Request 27 of Tesla’s First Requests For

 Production. Plaintiff responded that she “will produce under separate cover materials responsive to

 the foregoing Request and agrees to supplement her response in a timely manner and pursuant to the

 rules and any orders of the court.” Yet Plaintiff’s 1,750-page document was significantly broader than

 this request. Among Plaintiff’s production included a news story involving an unspecified model Tesla

 colliding with a semi-truck, with no reference to how the crash occurred, what model vehicle was

 involved, whether the at-issue product (Autopilot) was even involved, or how generalized hearsay

 statements in a news story supports Plaintiff’s defect allegations. See BENA001233. Similarly,

 Plaintiff produced a news article involving the driver of a Tesla crashing while manually trying to pass

 vehicles by entering the opposing lane of traffic. 1311. It is difficult to understand how such an

 incident would be relevant to Tesla’s Request, let alone Plaintiff’s claims that the vehicle – while in

 Autopilot mode – failed to prevent collision with a parked vehicle. Several other articles produce by

 Plaintiff reference allegations of unintended or “phantom” braking, which Plaintiff clearly does not

 allege to have occurred during the incident. See BENA000266, 270, 273, 277. In short, these

 documents do not support Plaintiff’s defect claims in this case.

     Similarly, Request 32 of Tesla’s First Requests for Production obligates Plaintiff to produce

 documents related to alternative designs. Plaintiff responded that she would “produce under separate

 cover materials responsive to the foregoing Request and agrees to supplement her response in a timely

 manner and pursuant to the rules and any orders of the court.” Exhibit C-1 Plaintiff’s Amended
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 Response to Request 32 of Tesla’s First Requests for Production. As the Court knows, the primary

 purpose of the Order compelling production in response to Request 32 (and the other Requests

 identified in the Order) is to compel actual production or a response from Plaintiff that she has no

 responsive documents by the deadline contained in the Order. Yet, Plaintiff produced no documents

 responsive to Request 32 within her untimely 1,750-page production.

     Forcing Tesla to guess which documents are responsive to Requests in the Order imposes an undue

 burden on Tesla, is not in compliance with FRCP 34 and it is a violation of the Order. See also GHMC

 Holding Company, Inc. v. Sickle, No. 3:14CV614/RV/CJK, 2016 WL 7757522, at *5 (N.D. Fla. Feb.

 23, 2016) (compelling Plaintiff to identify by Bates number which documents were responsive to each

 discovery request). Moreover, Plaintiff’s hollow statement that she will “… supplement her response

 in a timely manner and pursuant to the rules and any orders of the court” is not compliance with the

 Order that required Plaintiff to “… fully respond and produce any documents … no later than

 December 5, 2022” are inadequate, as Plaintiff did neither. Consequently, Tesla requests that this Court

 enter an Order compelling Plaintiff to supplement her responses by identifying the Bates range of

 documents responsive to each discovery request identified in the Order and to clearly and specifically

 state whether Plaintiff has or does not have documents responsive to Tesla’s Requests. If Plaintiff does

 not have responsive documents, it is long past of the time for Plaintiff to admit that fact.

         B. Request to Compel Production of Settlement Agreement of McGee.

     The single request in Tesla’s Third Requests for Production asked Plaintiff to produce the

 settlement agreement Plaintiff executed to resolve her claims with at-fault driver George Brian McGee.

 This document is relevant to Tesla’s assessment of Plaintiff’s damages and apportionment in the event

 a verdict is entered against Tesla. After expressly and specifically agreeing to an order compelling

 the production of this document, Plaintiff reneged and instead served untimely objections to the

 request. In the face of such duplicity, Tesla asks this Court to compel the immediate production of the
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 requested document. See Sirer v, Askoy, No. 21-CV-22280, 2022 WL 3154184, at *4 (S.D. Fla. Aug.

 8, 2022) (awarding sanctions and finding that a party’s failure to produce documents it agreed to

 produce following conferral with opposing counsel – among other things – to be troubling and

 indicative of an attempt to deliberately frustrate the discovery process). Tesla challenges Plaintiff’s

 assertion of “confidentiality” over the settlement agreement she agreed to produce but is now refusing

 to produce. And, as this Court knows, “confidentiality” is not an excuse or exception to compliance

 with an Order requiring production of the document. However, Tesla is willing to agree to an

 appropriate protective order that would provide protection to anything in the settlement agreement that

 may deserve such protection. Plaintiff’s Counsel has proposed no such protective order. Instead,

 Plaintiff or her Counsel has raised this issue in an untimely way to avoid compliance with the Order.

 The Court should not permit this discovery abuse to continue.

         C. Request to Compel Production of Documents Supporting Plaintiff’s Specific
            Allegations

         In response to several Requests that Plaintiff agreed to respond to per the Order, Plaintiff lodged

 untimely and circle objections to the general effect of “there is so much responsive information that it

 would unduly burdensome and harassing for her to respond.” For example, Request 2 in Tesla’s

 Second Requests for Production required Plaintiff to produce any media supporting Plaintiff’s specific

 statement in her Response to Interrogatory 20 in Tesla’s First Interrogatories to Plaintiff that “both the

 advertising and public relations of Autopilot generally and specifically to George Brian McGee

 contributed to the subject accident.” Plaintiff objected that:

         Defendant has widely, perpetually and publicly represented its Autopilot suite as
         unsurpassed in automobile technology, holding it out as Tesla’s most desirable feature
         and teasing consumers with its purported capabilities with such with such a barrage of
         media posts, tweets, tech events, website blogs and representations that to collect and
         produce a comprehensive body of materials containing this claim would be
         harassing and oppressive, to which Plaintiff objects.


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 In other words, in response to Tesla’s request that Plaintiff produce the documents that would

 substantiate Plaintiff’s Interrogatory response, Plaintiff made additional unsubstantiated assertions and

 refused to produce responsive material on the basis that there was too much to produce.

         As this Court knows, the specific purpose of discovery is to obtain evidence that purportedly

 substantiates a party’s allegations. See generally, Bishop v. Baldwin, No. 20-CV-61254, 2020 WL

 7320932, at *7 (S.D. Fla. Dec. 10, 2020); see also State National Insurance Company v. City of Destin,

 No. 3:15CV31/MCR/EMT, 2015 WL 11109379, at *1 (N.D. Fla. Sept. 1, 2015). Plaintiff cannot make

 allegations and then refuse to produce the evidence that supports them. Additionally, it is not up to

 Tesla to read Plaintiff’s mind to determine which documents may support Plaintiff’s allegations.

 Plaintiff has the burden of proof and is the master of her defect theory. Plaintiff made similar

 objections to Requests 29 and 31, which required Plaintiff to produce documents supporting specific

 allegations Plaintiff made in her Complaint about the subject product and Plaintiff’s failure to warn

 allegation. For the reasons stated above, these objections are inappropriate.

         Plaintiff made similar objections to Requests 26 and 33 which required Plaintiff to produce

 information related to lawsuits, claims, or complaints Plaintiff claimed to be substantially similar to

 the instant case, stating that “Defendant has superior access” and that such a request would be unduly

 burdensome and harassing. Again, Tesla cannot read Plaintiff’s mind to determine which other

 incidents Plaintiff contends are similar. Furthermore, if Plaintiff has any information responsive to

 this request, she cannot evade her obligation to disclose it because simply by objecting that “there is

 too much information.” Courts have universally disapproved of boilerplate objections that compiling

 and producing responsive information is unduly burdensome. See Sallah v. Worldwide Clearing LLC,

 855 F. Supp. 2d 1364, 1376 (S.D. Fla. 2012) (A party objecting on these grounds must explain the

 specific and particular way in which a request is vague, overly broad, or unduly burdensome. In

 addition, claims of undue burden should be supported by a statement (generally an affidavit) with
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 specific information demonstrating how the request is overly burdensome.) See also Democratic

 Republic of Congo v. Air Capital Group, LLC, No. 12-CIV-20607, 2018 WL 324976, at *3 (S.D. Fla.

 Jan. 8, 2018) (non-party’s objection that requests requiring them to “compile extensive materials that

 will cause undue burden and expense” was inadequate without specific supporting facts). Mere

 conclusory statements that a production is unduly burdensome is insufficient. Id.     This is especially

 true where Tesla’s requests are tailored to documents supporting specific allegations made by Plaintiff.

 Consequently, Plaintiff’s objections to Requests 26, 29, 31, and 33 of Tesla’s First Requests for

 Production and Request 2 of Tesla’s Second Requests for Production should be stricken and Plaintiff

 should be required to produce all responsive documents – as she has already so stipulated in the

 Parties’ Stipulated Order.

         D. Request to Strike Plaintiff’s RFA Responses and Deem all Admitted

         Tesla also Requests that this Court strike Plaintiff’s untimely responses to Tesla’s Firsts

 Requests for Admission and deem the Requests admitted because Plaintiff failed to comply with the

 Order Regarding Plaintiff’s Discovery Responses and, in particular, Tesla’s Requests for Admissions.

 See Malautea v. Suzuki Motor Co., Ltd, 987 F.2d 1536, 1542 (11th Cir. 1993) ([Rule 37] “gives district

 judges broad discretion to fashion appropriate sanctions for violation of discovery orders”); see also

 Landfall 2, Inc. v. Datascore-AI, LLC, Case No. 22-cv-80801, 2022 WL 17815491 at *2 (S.D. Fla.

 Dec. 15, 2022) (Plaintiff’s objections to discovery deemed waived for failing to timely respond to

 discovery deadline established by court order).        Since being served with Tesla’s Requests for

 Admissions on February 15, 2022, Plaintiff or her Counsel have deliberately violated their obligations

 to respond under Fed. R. Civ. P. 36. Simply put, Plaintiff ignored Tesla’s Requests for Admissions

 for ten months only to make and then fail deliver on several assurances made that she would provide

 full and substantive responses (See Exhibit A). Most recently, Plaintiff violated the deadline imposed

 by the Order to which she stipulated to. This Court should not permit such conduct to go unpunished
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 and given the history of Plaintiff’s discovery abuse the only fair remedy is for the Court to enter an

 Order consistent with the terms of FRCP 36(a)(3) which provide in pertinent part: “A matter is admitted

 unless, within 30 days after being served, the party to whom the request is directed serves on the

 requesting party a written answer or objection addressed to the matter and signed by the party or its

 attorney.” The record is clear that Plaintiff failed to response as required by FRCP 36 and this Court’s

 Order that required Plaintiff to response by December 5, 2022.

          E. Request for Amendment to Scheduling Order

          The primary and obvious purpose of Tesla’s Requests set out in the Order is for Tesla to

 complete discovery about Plaintiff’s basis (or lack thereof) for her product defect allegations as the

 parties approach expert disclosure and report submission deadlines. As discussed above, Plaintiff has

 simply evaded her obligations under the FRCP and under the Order that she agreed. In doing so

 Plaintiff and her Counsel have caused a significant delay in Tesla’s ability to conduct discovery which

 has unfairly prejudiced Tesla ability to defend this case and to meet expert related deadlines under the

 current Scheduling Order. Tesla is now faced with a January 24, 2023 expert disclosure deadline, yet

 Plaintiff has produced almost nothing substantive in response to Tesla’s discovery Requests and the

 Order.

          Plaintiff’s 1,750-page production, which is almost entirely comprised of news articles,

 unrelated lawsuit complaints, and blog posts would generally be considered hearsay and lack reliability

 under the Federal Rules of Evidence. See Fed. R. Evid. 401 and 701. It is hard for Tesla to believe

 that such a production contains the evidence Plaintiff’s own experts intend to rely on at trial. See

 Parrish v. Freightliner, LLC, 471 F. Supp. 2d 1262, 1270 (M.D. Fla. 2006) (granting motion to

 Defendant’s stay discovery and admonishing Plaintiff’s “hide the ball” tactics). Plaintiff has the

 burden of proof, yet her actions have deprived Tesla’s experts of an opportunity to properly assess

 Plaintiff’s defect allegations in a manner that would allow them to properly respond to them by January
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 24. Furthermore, as exhibited by her conduct necessitating this motion, Plaintiff has given Tesla no

 reason to trust in her ability to prevent future delay. For these reasons, and for the reasons stated

 throughout this Motion, Tesla respectfully requests that this Court Amend the current scheduling order

 (Dkt. 10) as follows (proposed deadlines in bold):

              •   Deadline for parties to disclose experts- January 24, 2023

              •   New deadline for the disclosure of Tesla’s experts only- March 1, 2023

              •   Deadline to conclude fact and expert discovery: February 21, 2123

              •   New deadline: March 28, 2023.

              •   Deadline for dispositive motions, Daubert motions, and motions in limine: March 15,

                  2023.

              •   New deadline: April 21, 2023.

 Tesla also requests that this Court enter an Order: (i) striking Plaintiff’s untimely objections to Tesla’s

 discovery Requests identified in the Order; (ii) requiring Plaintiff to supplement her responses in full

 compliance with FRCP 34 (iii) compelling Plaintiff to produce an unredacted copy of her settlement

 agreement with George McGee; (iv); and striking Plaintiff’s objections and compelling the production

 of documents responsive to Requests 36, 29, 31, and 33 of Tesla’s First Requests for Production and

 Request 2 of Tesla’s Second Requests for Production deeming admitted Tesla’s Requests for

 Admission within 7 days of entry of this Court’s Order on this Motion.

         F. Request for Costs and Fees

     Where a party fails to obey an Order to provide or permit discovery, the court must order the

 disobedient party to pay the reasonable expenses, including attorney’s fees, caused by the failure,

 unless the failure was substantially justified. Fed. R. 37(b)(2); see also; Soto v. Miami-Dade County,

 281 F.Supp. 3d 1320-1323 (S.D. Fla. 2017); see also Diaz v. Drs. Best Weight Loss & Wellness Ctr.,

 LLC, No. 21-CV-22386, 2022 WL 1012894, at *2 (S.D. Fla. Apr. 5, 2022). “In addition, the Court
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 has inherent powers to impose sanctions to ensure the orderly and expeditious disposition of cases

 where a party’s conduct disrupts or impairs the judicial process.” See Spikes v. Schumacher Auto

 Group, Inc., Case No. 21-81223-CIV, 2022 WL 17601552 at *3 (S.D. Fla. Dec. 13, 2022); see also

 Bankatlantic v. Blythe Paine Webber, Inc. 130 F.R.D. 153, 155 (S.D. Fla. 1990) (enforcement of

 sanctions order was necessary to serve the punishment and deterrence goals of the rule and to vindicate

 the integrity of the Court and discovery process). see also National Hockey Leaguue v. Metropolitan

 Hockey Club, Inc., 427 U.S. 639 (1976). In this case, Plaintiff and her Counsel have exhibited a pattern

 of evading their discovery obligations. This pattern has been repeated by Plaintiff or her Counsel for

 over a year and a half. Tesla has served four sets of discovery carefully tailored to Plaintiff’s

 allegations. As this Court knows well, the Federal Rules of Civil Procedure imposed substantive

 obligations and deadlines on Plaintiff in terms of her responses to Tesla’s discovery. Yet Plaintiff or

 her Counsel have ignored those obligations and, most recently, they have ignored the obligations and

 deadlines imposed by an order to which Plaintiff specifically stipulated.

         Since initially serving discovery in July of 2021, Counsel for Tesla has spent over 121 hours

 attempting to obtain discovery from Plaintiff.5 Plaintiff’s repeated discovery abuse (i.e., failure to

 timely respond to discovery, failure to engage in good faith meet and conferral about discovery, service

 of non-responsive discovery answers and, most recently, violation of a stipulated discovery Order) has

 caused Tesla and this Court to expend unnecessary resources in an attempt to resolve these issues.

 Additionally, Plaintiff’s Counsel’s numerous unkept promises to produce the requested discovery have

 caused Tesla to remove the issue from the Court’s docket three times in the vain hope that Plaintiff

 would comply. Plaintiff and her Counsel have not complied and their repeated failure or refusal to

 comply is proof that they will not comply without sanctions by this Court. As a result of these repeated


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  Tesla will produce – prior to a hearing on these issues – a summary of costs incurred in compliance with relevant
 Southern District of Florida local rules in support of its requests for costs and fees.
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 discovery abuses, Tesla asks this court to compel Plaintiff to compensate it for these unnecessary

 expenses necessitated by Plaintiff’s actions.

                                             CONCLUSION

         WHEREFORE, for the reasons stated above, Tesla respectfully requests that this honorable

 Court grant the relief requested above.

                             LOCAL RULE 7.1(a)(3) CERTIFICATION

         Pursuant to Local Rule 7.1(a)(3), the undersigned counsel certifies that Tesla made a reasonable

 attempt to meet and confer via email on December 5 and 9, 2022, but were unable to resolve the issues

 presented in this motion.

         Further attempts to meet and confer regarding the substance of Plaintiff’s production were

 made on December 30, 2022 and January 3, 2023, however, the parties could not resolve the issues.

 In light of the issues described in this Motion and due to the deadlines established by the local rules

 related to discovery dispute motions, Tesla was forced to file this Motion on January 3. Based on their

 meet and confer conversation on January 3, the Parties contemplate pursuing additional attempts to

 resolve these issues prior to setting the motion for hearing.



 Date:                          Respectfully submitted,

                                        By: /s/ Henry Salas______
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                                                     - and –



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                                     CERTIFICATE OF SERVICE
         I hereby certify that on January 3rd, 2023, I electronically file the foregoing paper with the Clerk

 of the Court using the ECF system which will send notification of such filing to the following:

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